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IN THE UNITED STATES DISTRICT COURT FOR THE
NORTHERN DISTRICT OF OHIO
BASTERN DIVISION

I, Charles Sullivan, a Special Agent of the Federal Bureau
of Investigation, United States Department of Justice,
hereinafter referred to as Affiant, being duly sworn under oath,

hereby deposes and states as follows:

INTRODUCTION

1, Affiant is an investigative or law enforcement officer

of the United States of America within the meaning of Title 18

U.S.C. § 2510(7) and Federal Rule of Criminal Procedure

41(a) (2) (C), as a Special Agent (SA) of the Federal Bureau of
Investigation (FBI). Affiant is empowered to conduct
investigations of and to make arrests for offenses enumerated in
Title 18 U.S.C. § 2516.

2. Affiant has been employed as a Special Agent of the
FBI since February of 1998 and has been assigned to the
investigation of violent crime matters in the Cleveland
Division, Painesville Resident Agency, for approximately the
past seven years. Affiant has been charged with the
investigation of Federal crimes involving bank robberies, drugs,
weapons violations, interstate transportation of stolen
property, crimes against children and other general criminal
offenses in the Northern District of Ohio. At all times during
the investigation described in this Affidavit, Affiant has acted

in an official capacity as a Special Agent of the FBI.

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3, Affiant has participated in all of the usual methods
of investigation, including, but not limited to, physical
surveillance, the questioning of witnesses, and the analysis of
evidence. Affiant has written and/or executed search warrants
resuiting in the seizure of illegal weapons, drugs, stolen
property and child pornography. Affiant has also supervised the
activities of Confidential Human Sources (CHS).

4, This affidavit is being submitted in support of an
arrest warrant for Chardee D. Barfield who knowingly transported
an individual who had not attained the age of 18 years in
interstate commerce, with intent that the individual engage in
prostitution, in violation of Title 18, U.S.C.,

§ 2423 (a).

5. The statements contained in this affidavit are based
in part on information developed by other Special Agents, of the
FBI, Officers from the Mentor Police Department and Officers
from the Wickliffe Police Department, who have participated in
the investigation of sex trafficking of a child. Unless
otherwise noted, whenever in this Affidavit your Afflant asserts
that a statement was made, the information was provided by
another law enforcement officer or an investigator (who may have
had either direct or hearsay knowledge of the statement) to whom
your Affiant has spoken or whose report your Affiant has read
and reviewed. Likewise, any information pertaining to vehicles
and registrations, personal data on subjects, and record checks,
has been obtained through the Law Enforcement Automated Data
System (LEADS), various state driver's license motor vehicle.
records, online database searches or the National Crime

Information Center (NCIC) computers, and various open source

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databases such as LexisNexis.

6. Since the Affidavit is being submitted for the limited
purpose of supporting the application in this matter, Affiant
has not included each and every fact known to him concerning
this investigation. Affiant has set forth only the facts that
he believes are necessary to establish the probable cause for

the issuance of the arrest warrant sought.

FACTS AND CIRCUMSTANCES REGARDING PROBABLE CAUSE

7. On May 25, 2011, officers from the Mentor Police
Department were dispatched to the America’s Best Value Inn, 8370
Broadmoor Road, Mentor, Ohio 44060, regarding a theft complaint.
Upon arriving at this location officers interviewed the
complainant, Paige McLeod, a 27 year old female, and discovered
that she had been conducting prostitution activities in a room
at this motel. Officers interviewed McLeod who advised them
that she had fallen upon hard times and was in need of money to
Support herself and her children. McLeod stated that she
discussed her personal problems with two acquaintances, Ernest
F. McClain, aka “Tubbs”, and his girlfriend, Chardee D.
Barfield, whom suggested to her that she begin prostituting
herself with them. McLeod advised officers that “Tubbs” and
Barfield “pimp” several girls, some of whom McLeod believed were
less than 18 years of age. McLeod advised the officers that her
clients, as well as other clients whom engaged in prostitution
with other girls whom worked for “Tubbs”, contacted the girls
directly via an Internet web site. The girls then contacted
*Tubbs” or Barfield who would rent a hotel room for them to

utilize for prostitution purposes. “Tubbs” or Barfield would

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then provide the hotel information (1l.e. name of hotel, address,
room number) to the girls who would then provide this
information to the client in order to arrange a meeting.

“Tubbs” and/or Barfield would then drop off the girls at the

hotel and depart the area. After the girls engage in sexual

{}conduct with the client and collected their money, they would

contact “Tubbs” and/or Barfield who would return to the hotel to
collect their share of the money. McLecd stated that “Tubbs” is
extremely violent and will beat the girls who prostitute for him
to ensure they will keep working as prostitutes for him. McLeod
also stated that Barfield assists “Tubbs” with running the
prostitution operation and she occasionally prostitutes herself
as well. McLeod stated that “Tubbs” drives the giris to various
hotels in his green colored Mercury Mountaineer.

8. On December 5, 2011, CWH1, who was a 15 year old
female, was dropped off at the West Haven Youth Shelter in
Cleveland, Chico. CW#1 advised the intake personnel at the
shelter that she was a missing juvenile from Columbus, Ohio.
CW#H1 was subsequently interviewed by law enforcement officers
and stated that in August of 2011 she met an individual from the
Columbus, Ohio area by the name of "RICO". CW#H1 originally met
this individual over an internet chat line called "Urban Chat".
After talking to "Rico" for several days she ran away from home
in order to meet "Rico" in person. Shortly after meeting “RICO”
he forced her to prostitute herself out of hotels in the
Columbus, Ohio area. Ona day in late September or early
October 2011, while prostituting at the hotel, CWH#1 was unable
to find “RICO”, CWH1 was informed by other girls at the hotel

that “RICO” had been arrested for an unknown reason. While

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walking around the hotel CWHI was approached by an individual
who called himself "Tubbs". CW#1 described "Tubbs" as a black
male in his 30's. "Tubbs" asked her if she had been
prostituting out of the hotel and she responded by telling him
that she had been. "Tubbs" advised her that she could earn a
lot more money prostituting herself in Cleveland, Ohio and he
agreed to buy her a bus ticket so that she could travel from
Columbus, Ohio to Cleveland, Chio. A few of days later. "Tubbs"
provided CWH1l with a bus ticket, which she accepted, and rode a
Greyhound bus from Columbus, Ohio to Cleveland, Ohio.

9, Upon arriving in Cleveland, Ohio CW#H1 met with
“Tubbs” who introduced her to his girlfriend, “Chardee”
(Barfield). CWH1 stated that Barfield was also known as
“Tubbs’” “bottom” which she defined as a female prostitute who
was responsible for all the scheduling of the prostitutes and
clients as well as the person whom collected the money for the
pimp, “Tubbs”. "Tubbs" originally promised CWHI that for her
acts of prostitution she would be able to keep 50% of ail the
money she earned, the other 50% being provided to “Tubbs”. CWH1
stated that almost immediately after arriving in Cleveland,
Ohio, “Tubbs” was prostituting her.

10, CWH1 advised that "Tubbs" would take digital
photographs of her and post them on several web pages, including
www.backpage.com, as an advertisement for CWH#1 being available
to meet clients to engage in prostitution. In these
advertisements CWH1 would be forced to wear lingerie and would
be prostituted under an alias name. In addition to CW#H1,
“Tubbs” was also prostituting other females. Some of the other

girls whom were prostituted by “Tubbs” were Chardee, “Tubbs’”

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girlfriend, who was also known by the alias names of "Erica" or
"Seduction" and Brittany White, who was also known by an alias
on the Internet. While posting these advertisements CW#1
recalled the contact number used was 216-848-xxxx which she
believed was the cellular telephone number associated with
Barfield.

11. Over approximately a 30 day period CWH1 was forced to
prostitute, on average, 10 times per day. CWH1 estimated that
“Tubbs” and Barfield forced her to engage in prostitution with
over 200 males. The majority of the prostitution that CWHI was.
forced to do occurred at different hotels that “Tubbs” and
Barfield had rented. At times the hotel rooms were put in some
of the girls’ names, but never in CWH1’s name because she was
not old enough to rent a room, On occasion “Tubbs” and/or
Barfield would drive CW#1 to clients’ homes in order to engage
in sex with them. CW#1 was not certain where she was every
night but stated she was forced to prostitute east, west, and
south of Cleveland, Ohio. On several occasions CWH1 had
observed “Tubbs” being physically abusive towards Barfield.

CWH1 was in constant fear of her safety and was forced to
perform sex acts with “Tubos” and Barfield. CW#1 stated that
Barfield was enrolled at the Cleveland State University in the
Criminal Justice program and would go to class on Tuesday and
Thursday evenings. On those evenings Tubbs would force CWHI to
have sex with him. On several occasions he would tell her the
sex act he wanted her to perform and she would perform it out of
fear. On other occasions “Tubbs” would force her to submit to

anal sex.

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12, CWHI believed that her photographs were maintained on
several cellular telephones that “Tubbs” and Barfield had taken
pictures of her with. In addition, “Tubbs” and Barfield
utilized three laptop computers which also stored her digital
photographs and were utilized to create the internet
advertisements they would use to prostitute her.

13. CWHI stated that the rate all the girls charged their
clients was $100 for a half hour of sexual interaction with them
or $180 for an hour of sexual interaction with them.
Occasionally, “Tubbs” would run $50 or $60 specials. CWH1
recalled on several nights after being forced to have sex with 5
or 6 individuals the only thing she requested was a bath.
“Tubbs” and Barfield advised her that she couid not take a bath
and provided her with a Summer Eve wipe or a douche and told her
to get back to work.

14. During the interview of CWH#1 she was asked to review
several photographs and Internet advertisements. CW#HI
positively identified herself as the individual in several of
the photographs and was also able to positively identify
McClain, aka “Tubbs”, and Barfield from these photographs.

15. On 01/04/2012 CWHL was interviewed again by law
enforcement officers and advised that during December 2011, she,
“Tubbs”, Barfield and Brittany White (another prostitute whom
worked for “Tubbs”) all traveled together from Cuyahoga County
Ohio to Pittsburgh, Pennsylvania in order to engage in
prostitution. They all resided in Pittsburgh, Pennsylvania for
a few days and CWH1 engaged in prostitution with approximately

16 clients while in Pittsburgh, Pennsylvania.

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16. On January 3, 2012, Brittany White, a 21 year old
female, was interviewed by law enforcement officers and advised
that during August 2011 White initially met and befriended
Chardee Barfield. As the two became acquainted with each other
Barfield advised White that she was a student at Cleveland State
University (C.S.U.), studying Psychology, and also worked as a
prostitute for her boyfriend, Ernest McClain aka "Tubbs".
Barfield explained to White that she could also work for “Tubbs”
and she would be expected to evenly split (50%/50%) all of her
earnings with “Tubbs”.

17. White stated that Barfield took digital photographs
of her (White) with Barfield’s cellular telephone. Barfield
would then download these images from her (Barfield) cellular
telephone to a laptop computer in order to edit or "crop" the
images. White stated that Barfield would then upload the
digital photographs to the internet onto the web site

www. backpage.com.

18. White stated that these photographs were uploaded to
the Internet in order for White to advertise herself as a
prostitute. White stated that in order to upload these images
to the Internet, Barfield gained connectivity to the Internet
via "free wi-fi" which was provided to occupants of various
hetels which “Tubbs” or Barfield had rented rooms at.

19. During September 2011 White originally met CWH1 at
the Ramada hotel in Wickliffe, Ohio. White stated that “Tubbs”
brought CWH1l to her hotel room and introduced her as another
person whom would be prostituting for him.

20. White stated that CWH1 utilized an alias name on the

web site www.Facebook.com in order to advertise herself as a

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prostitute. White also stated that CWH1 was usually with
“Tubbs” and/or Barfield, having no other way to travel from one
place to another and having no way to sustain herself without
assistance from them. White stated that Barfield does not have
a driver's license and she and CWH1 are driven from place to
place by “Tubbs”.

21. White stated that the hotel rooms where they
prostituted themselves were usually paid for by “Tubbs” or
Barfield. White stated that after the room was rented “Tubbs”
or Barfield would provide her with the room number and a room
key so that she could use the room for prostitution purposes.

22, White stated that during the time period between
Christmas and New Year's 2011, she, “Tubbs”, Barfield, and CW#1L
traveled from the Cleveland, Ohio area to the Pittsburgh,
Pennsylvania area in order to engage in prostitution. White
stated that while they were in Pittsburgh, Pennsylvania they
stayed at the "Days Inn” hotel in a room which had been rented.
by “Tubbs” or Barfield. White stated that they had all decided
to travel from Cleveland, Ohio to Pittsburgh, Pennsylvania
because they were not earning much money in Ohio prostituting
themselves so they thought they may be able to earn more money
prostituting themselves in Pennsylvania. White stated that they
all traveled from the Cleveland, Ohio area to the Pittsburgh,
Pennsylvania area together in “Tubbs’” vehicle (a green colored
Mercury Mountaineer) . White stated that “Tubbs” drove the
vehicle, Barfield traveled in the front passenger seat while she
and CWH1 traveled in the back seat. White stated that she,
“Tubbs”, Barfield and CWH1 stayed at a "Super 8" motel in

Pittsburgh, Pennsylvania. When they arrived in the Pittsburgh,

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Pennsylvania area they all got into an argument with each other
so they only stayed in the Pittsburgh, Pennsylvania area for one
night.

23. White stated that while they were in the Pittsburgh,
Pennsylvania area Barfield re-posted her own, along with White’s
and CWH1l’s advertisements on the Internet indicating that they
were now prostituting themselves in the Pittsburgh, Pennsylvania
area. (Note: On 12/27/2011 CW#1’s posting on the web site

www, localescortpages.com indicated that CWH1 was prostituting

herself in the Pittsburgh, Pennsylvania area. This posting was
created via Barfield’s cellular telephone) White stated that
while they were all in the Pittsburgh, Pennsylvania area she met
with two clients and engaged in prostitution activities while
CWHE had one client scheduled to meet her in order to engage in
prostitution activities but this client never arrived.

24. White stated that on the return trip from the
Pittsburgh, Pennsylvania area back to the Cleveland, Ohio area,
she elected to travel by herself via a bus, and believed that
“Tubbs”, Barfield and CWH1 traveled from the Pittsburgh,
Pennsylvania area back to the Cleveland, Ohio area together in
‘“Tubbs’" vehicle.

25. White stated that all of “Tubbs’” prostitutes,
including CW#1, charged the same amount of money to engage in
sexual conduct with clients. White stated they all charged a
client $100.00 for 30 minutes of sexual interaction with them or
$180.00 for 60 minutes of sexual interaction with them. White
stated that all of “Tubbs’” prostitutes provided him with 50% of

their earnings.

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26. White stated that Barfield utilized the cellular
telephone number of 216-688-xxxex. White also stated that this
was the cellular telephone number which CWH1 also used because
CWHI didn't have a cellular telephone of her own.

27. White stated that she was aware that CWH1 had engaged
in prostitution with approximately 50 clients.

28. White believed that “Tubbs” and Barfield had both
engaged in sexual conduct with CWHI.

29, On January 3, 2012 Ernest McClain, aka “Tubbs”, was
located, and arrested, by law enforcement officers at the Ramada
hotel, 28600 Ridgehills Drive, Wickliffe, Ohio 44092. McClain
was observed driving a green colored Mercury Mountaineer
vehicle. McClain was charged with compelling prostitution and
placed into the Wickliffe Police Department jail.

30, A gearch of LEADS for Chardee D. Barfield, date of
birth August 7, 19xx, resulted in a match for an individual with
a social security number 287-XX-XxXxx. This query also revealed
that Barfield resided at the same address as McClain.

31. Based on the information contained herein, there is
probable cause to believe that Chardee D. Barfield did knowingly
transport a individual who has not attained the age of 18 years
in interstate or foreign commerce with intent that the
individual engage in prostitution in violation of Title 18, USC,

§ 2423 (a),

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Charles Sullivan
Special Agent
FBI :

Subscribed and sworn to before me this 30th day of

January 2012.

United States Magistrate Judge

